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                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA


VICTOR BONDARUK,

                   Plaintiff,
                                                                   Case No.: 2:20-cv-05979-NIQA
           v.

PNC BANK

                   Defendant.


                         DEFENDANT’S MEMORANDUM OF LAW
                  IN SUPPORT OF ITS MOTION FOR SUMMARY JUDGMENT

           PNC Bank, N.A.1 (“PNC” or “Defendant”), pursuant to Fed. R. Civ. P. 56 and Local Rule

7.1, submits this Memorandum of Law in Support of its Motion for Summary Judgment.

I.         INTRODUCTION

           PNC terminated Plaintiff’s employment because he engaged in dishonest and unethical

conduct, in violation of PNC’s policies. He improperly entered a customer referral into PNC’s

computer system in an attempt to manipulate his sales and earn a commission to which he was not

entitled.

           After PNC terminated his employment, Plaintiff claimed, for the first time, that his Branch

Manager harassed him and discriminated against him because of his Russia and Ukraine origins.

He also claimed that PNC retaliated against him for complaining about it. The undisputable fact,

however, is that Plaintiff never complained during his employment about any unfair treatment

based on his national origin. Plaintiff admits this fact. To be fair, Plaintiff made complaints about

his Branch Manager. But none of his complaints amounted to “protected activity”, as a matter of

law, because Plaintiff admittedly never tied any complaint of alleged unfair treatment to his


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    Plaintiff’s employer was PNC Bank, N.A., incorrectly identified in the Complaint as “PNC Bank.”
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national origin. He never mentioned his national origin or even used the words “discrimination”

or “harassment”. Instead, his complaints were petty gripes and (ironic) allegations that the Branch

Manager acted “unethically”.

       Even if Plaintiff had engaged in protected activity, his discrimination and retaliation claims

still fail. That is because PNC had a legitimate, non-discriminatory and non-retaliatory reason for

terminating Plaintiff’s employment—his misconduct. Plaintiff cannot prove that PNC’s stated

reason was a pretext for discrimination or retaliation. The record before the Court precludes any

such finding. PNC has consistently terminated the employment of others who violated the same

policies as Plaintiff, without regard for national origin. Plus, the Branch Manager—the alleged

discriminatory actor in this case—did not initiate Plaintiff’s separation. There was an independent

investigation, prompted by Plaintiff himself. The investigator confirmed Plaintiff’s misconduct

and thus facilitated the termination of Plaintiff’s employment. Plaintiff does not attribute a

discriminatory or retaliatory animus to the investigator, nor could he.

       Finally, Plaintiff’s harassment claim is a figment of his imagination—concocted

admittedly after his termination. He speculates that his Branch Manager treated him unfairly

because of his national origin. Plaintiff claims that his Branch Manager made two stray remarks

about his Russian heritage and once mocked his accent. Plaintiff admits that he never reported

these incidents during his employment. And he did not mention them in the EEOC charge that he

filed as a precursor to this lawsuit. Plaintiff surfaced this so-called evidence only when he filed

this lawsuit. Assuming, for summary judgment only, that the Branch Manager made the isolated

comments that Plaintiff curiously and belatedly attributes to him, those remarks cannot sustain

Plaintiff’s harassment claim. As a matter of law, they are not severe or pervasive.




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       Accordingly, this Court should grant PNC’s Motion for Summary Judgment and dismiss

Plaintiff’s Complaint in its entirety, with prejudice.

II.    SUMMARY OF UNDISPUTED FACTS

       A.      Plaintiff’s Employment History at PNC

       PNC employed Plaintiff from August 2016 until his discharge on October 17, 2019.

(Defendant’s Statement of Undisputed Material Facts (“SF”) ¶ 1.) Plaintiff’s title was Branch

Sales and Service Associate II, and he worked at the Welsh Road Branch in Philadelphia. (SF ¶¶

2, 3.) Plaintiff’s Branch Manager was Vaughn Vaughnson, and Raymond DiSandro was the

Regional Manager for Plaintiff’s region. (SF ¶¶ 4, 5.)

       When PNC hired Plaintiff, he agreed to read and comply with PNC’s Code of Business

Conduct and Ethics and related ethics policies, and he received training on PNC’s Code of Ethics.

(SF ¶ 7.) The Code of Ethics states, in part, “[a]s a PNC employee…always act in a professional,

honest, and ethical manner when conducting your activities with and on behalf of PNC. (SF ¶ 7.)

Additionally, to be employed at PNC, employees must be covered by PNC’s Fidelity Bond at all

times. (SF ¶ 8.) PNC’s Fidelity Bonding policy provides: “Dishonest acts violate the bond,

regardless of whether there is actual monetary loss, and in such instances employment with PNC

will likely be terminated.” (SF ¶ 8.)

       As a Branch Sales and Service Associate II, Plaintiff qualified to participate in PNC’s Sales

Incentive Program, and he was eligible to earn incentive pay for qualified referrals, as provided in

PNC’s Customer Referral Requirements. (SF ¶ 6.) The Customer Referral Requirements provide

a checklist to help employees determine if the potential referral opportunity is valid and should be

immediately entered into Genesis—the computer software used by PNC. (SF ¶ 6.) As part of the

checklist, the employee is required to have a personal conversation with the customer. (SF ¶ 6.)



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Upon confirming a referral is valid and meets the criteria set forth in the Customer Referral

Requirements, an employee is required to enter the referral in Genesis immediately. (SF ¶ 9.) The

referral “must be properly entered no later than the same calendar day (and within reasonable

business hours) in which the application was started.” (SF ¶ 9.) Once a referral is entered into

Genesis, it remains active for a specified amount of days, depending on the type of referral. (SF ¶

9).

       The Customer Referral Requirements state “[i]f you cannot confidently check all of these

items, your conversation is not referral eligible. Do not enter a referral.” (SF ¶ 6.) Further, the

Customer Referral Requirements provide “[s]ubmitting an invalid referral for the purpose of

meeting performance goals and/or obtaining sales credit for incentive may be considered a

dishonest act in violation of PNC’s Code of Business Conduct and Ethics and PNC’s Fidelity

Bonding Policy and may result in immediate termination of employment.” (SF ¶ 6.)

       B.      Plaintiff’s Internal Complaints to PNC about Vaughnson

       During his employment, Plaintiff made several internal complaints about Vaughnson, but

he never complained that Vaughnson, or anyone else at PNC, discriminated against him or

harassed him, nor did he complain of any unfair treatment based on his national origin. (SF ¶11.)

For example:

             On March 7, 2019, Plaintiff complained to DiSandro via email that
       Vaughnson was trying to avoid overtime and scheduled a client to meet with
       another employee. (SF ¶ 12.)

             On April 24, 2019, Plaintiff complained via email to DiSandro that
       Vaughnson met with and opened an account for a client, while Plaintiff was “sitting
       with no clients.” (SF ¶ 12.)

              On June 27, 2019, Plaintiff emailed DiSandro, complaining that Vaughnson
       told him that he could not go to lunch. (SF ¶ 12.)

            On September 23, 2019, Plaintiff emailed DiSandro to complain that
       Vaughnson asked him why he was seven minutes late to work. (SF ¶ 12.)

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            On September 25, 2019, Plaintiff emailed DiSandro to complain that
       Vaughnson allegedly attempted to steal a client from Plaintiff. (SF ¶ 12.)

             October 8, 2019, Plaintiff emailed DiSandro to complain that Vaughnson
       took his referral. (SF ¶ 13.)

None of these complaints referenced Plaintiff’s national origin or even used the words

“discrimination” or “harassment”. (SF ¶ 12.) In fact, on May 17, 2019, when PNC’s Senior

Employee Relations Investigator, Shannon Schweda, issued Plaintiff a Final Warning for violation

of departmental procedure, Plaintiff had the opportunity to complain about any perceived

discrimination or harassment, but did not do so. (SF ¶ 10.) Plaintiff worked with a customer to

open a new account, which required the customer to take an online test to qualify for the account.

(SF ¶ 10.) Plaintiff admitted to Schweda that he—not the customer—completed part of the test.

(SF ¶ 10.) Schweda determined that, by taking part of the test for the customer, Plaintiff violated

PNC’s policy a departmental procedure. (SF ¶ 10.) The Final Warning stated, “[a]ny further

serious procedure violations may result in immediate termination of your employment with PNC.”

(SF ¶ 10.) Plaintiff commented that he “disagreed with the wording” and “[did] not refuse to sign,

but [he] want[ed] to clarify the situation.” (SF ¶ 10.)

       Plaintiff’s testimony was unequivocal that he made no such complaints about

discrimination or harassment: “I never specifically complained that I was discriminated because

I’m Russian, never in those terms that you just said.” (SF ¶ 11.)

       C.      PNC Terminates Plaintiff’s Employment for Violating the Customer Referral
               Requirements and Code of Ethics

       On October 8, 2019, when Plaintiff emailed DiSandro to complain, Plaintiff reported that

when he saw Vaughnson speaking with the client, he went into PNC’s computer system to “make

sure my referral [for that client] was still active, but it fell off the system because I placed my last

referral back in June. So I put another referral.” (SF ¶ 13.) Plaintiff further stated that Vaughnson


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“claims this is his referral, I totally disagree with him because I put the referral first and did this

several times.” (SF ¶ 13.)

       DiSandro forwarded Plaintiff’s email to Schweda, noting that Plaintiff’s conduct in placing

a referral in PNC’s system without speaking to the client again, and doing so only because the past

referral expired, goes against PNC’s Code of Ethics. (SF ¶14.) Vaughnson was not part of these

email communications. (SF ¶¶ 13, 14.) Plaintiff did not allege in his email to DiSandro that

Vaughnson discriminated against him or harassed him, and he did not mention his national origin.

(SF ¶13.)

       In response to DiSandro’s email, Schweda initiated an investigation into Plaintiff’s

conduct. (SF ¶ 16.) As part of the investigation, Schweda spoke with Plaintiff on October 11,

2019. (SF ¶ 16.) Plaintiff told Schweda that when the client came to the branch to meet with

Vaughnson, he looked at the shared notes in the system and noticed that his previous referral for

the same client was no longer in the system. (SF ¶ 16.) Plaintiff further told Schweda that he

“feels this is his customer and should be his referral.” (SF ¶ 16.) Plaintiff also told Schweda that

he did not have any conversations with the client on October 7, 2019; he entered the referral on

that date because he talked with the client in the past, but the referral was no longer in the system.

(SF ¶ 18.)

       Upon completing her investigation, Schweda concluded that Plaintiff’s actions violated (1)

PNC’s Customer Referral Requirements because he entered a referral without speaking to the

customer that day and (2) PNC’s Code of Ethics forbidding dishonest acts, including the

manipulation of sales records. (SF ¶ 17, 6, 9.) Because PNC consistently terminates employees

who engage in this misconduct, Schweda made the recommendation to terminate Plaintiff’s

employment effective October 22, 2019. (SF ¶17.)



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       D.      Plaintiff’s Harassment Allegations

       In his Court Complaint, Plaintiff alleges that Vaughnson harassed him due to his national

origin (Russia and Ukraine). (See ECF No. 2, p. 3.) To support his claim, Plaintiff alleges:

       Vaughnson “did not like [his] accent as he tried to mock [Plaintiff] when they were
       arguing [] about [Vaughnson’s] inappropriate and unethical behavior.” ( ECF No. 2, p.
       7.)

      Vaughnson gathered the branch employees and congratulated a teller lead’s two-year job
       anniversary, whereas Vaughnson left a gift box on Plaintiff’s table and did not say a word
       to him on his three-year job anniversary. (Id.)

      Vaughnson “apparently did not like Russian clients who were coming to the branch as no
       one wanted to deal with him…” (Id.)

      “Vaughnson was sometimes smiling maliciously after speaking with the Russian clients
       in the waiting area as if they were inferior people…” (ECF No. 2, pp 7-8.)

      Vaughnson stated “I am tired of these Russians” after speaking with Russian clients.
       (ECF No. 2, p. 8.)

      Vaughnson removed chairs at Plaintiff’s desk and put them in another room, shut down
       Plaintiff’s computer while Plaintiff was still typing, hung up Plaintiff’s phone while he
       was talking to the loan department, and lied to customers during a loan closing, claiming
       the branch was closing in five minutes and that the teller had to leave due to a fake
       emergency. (ECF No. 2, p. 8.)

      Vaughnson stated “Russian clown” while passing Plaintiff, “[a]lthough [Vaughnson] did
       not tell [him] that in the face…” (ECF No. 2, p. 9.)

       Plaintiff also claims that the ability to speak Russian was a requirement for his position

when PNC hired him, but when PNC posted his position after his discharge, Russian language was

not required. (ECF No. 2, p. 10.) At his deposition, Plaintiff testified that Russian language was

actually “preferred” but not “required” when he applied. (SF ¶ 20.) Plaintiff has no knowledge

whether Vaughnson was involved in posting the position after his termination. (SF ¶20.)

       Plaintiff testified that he never complained that Vaughnson’s alleged treatment was

because of his national origin. (SF ¶ 11.) And, specifically, Plaintiff never complained about

Vaughnson’s alleged isolated comments that he was “tired of these Russian” clients and that

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Plaintiff is a “Russian clown”, or that Vaughnson mocked Plaintiff’s accent. (SF ¶ 22.) In fact,

Plaintiff sent an email to Schweda just after Vaughnson allegedly called him a “Russian clown,”

but he did not raise Vaughnson’s alleged remark to Schweda because, according to Plaintiff, “it

wasn’t important at that moment.” (SF ¶ 23.) Plaintiff first concluded that Vaughnson’s treatment

constituted national origin discrimination after his discharge, when he began researching

Pennsylvania employment laws. (SF ¶ 21.)

       E.      PNC’s Treatment of Similarly Situated Employees

       In the fourth quarter of 2019 (October, November, December) PNC terminated the

employment of 13 individuals for engaging in the manipulation of sales by improperly recording

sales referrals. Those individuals are:

                               NAME                                      RACE

                 Victor Bondaruk                            White

                 DG                                         Asian

                 MH                                         White

                 CC                                         White

                 BS                                         Black/African American

                 SJ                                         Black/African American

                 LW                                         White

                 MS                                         White

                 MB                                         Did Not Identify

                 VL                                         Asian

                 AM                                         Black/African American

                 TH                                         White




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(SF ¶ 24.) PNC does not maintain data on its employees’ national origin except as it relates to

race. (SF ¶ 24.) PNC has no knowledge that any of the other employees listed are Russian or

Ukrainian. (SF ¶ 24.)

III.    SUMMARY JUDGMENT STANDARD

        Summary judgment should be granted when “there is no genuine issue as to any material

fact and the moving party is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(c); Barg

v. Encompass Home & Auto Ins. Co., No. 16-6049, 2018 WL 487830, at *2 (E.D. Pa. Jan. 19,

2018). To survive summary judgment, Plaintiff must come forward with specific admissible and

credible evidence supporting each element essential to his case, and he “may not rest on conclusory

allegations or bare assertions alone.” Sosky v. Int’l Mill Serv., Inc., No. 94-2833, 1996 WL 32139,

at *3 (E.D. Pa. Jan. 25, 1996) (citing Lujan v. Nat’l Wildlife Fed’n, 497 U.S. 871, 888 (1990),

aff’d, 103 F.3d 114 (3d Cir. 1996)). Speculation and conjecture cannot defeat a motion for

summary judgment. Wharton v. Danbert, 854 F.3d 234, 244 (3rd Cir. 2017).

IV.     ARGUMENT

        A.       Plaintiff’s National Origin Discrimination Claim Fails Because Plaintiff Cannot
                 Meet His Burdon Of Proof On Causation.

        Plaintiff alleges that PNC discriminated against him based on his national origin, in

violation of Title VII, when it discharged him. Plaintiff must prove his claim under the burden-

shifting analysis set forth in McDonnell Douglas Corp. v. Green, 411 U.S. 792, 802 (1973).2

Huston v. Procter & Gamble Paper Prods. Corp., 568 F.3d 100, 104 n.2 (3d Cir. 2009) (citing

Weston v. Pennsylvania, 251 F.3d 420, 425 n.3 (3d Cir. 2001)). Under that framework, Plaintiff




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 Plaintiff does not bring a claim under the Pennsylvania Human Relations Act (“PHRA”), nor could he, as Plaintiff
brought suit less than one year after filing a complaint with the Pennsylvania Human Relations Commission. See ECF
No. 2, pp. 1, 13; 43 Pa. Stat. §962(c)(1). But even if Plaintiff’s Complaint were construed to state a timely claim
under the PHRA, the same analysis applies to Title VII and PHRA national origin discrimination claims.

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bears an initial burden of establishing a prima facie case of national origin discrimination by

proving that: “(1) [he is] a member of a protected class; (2) [he was] qualified for and satisfactorily

performed [his] job; (3) [he] suffered an adverse employment action; and (4) the circumstances of

the adverse employment action would give rise to an inference of discrimination.” Fekade v.

Lincoln Univ., 167 F. Supp. 2d 731 (E.D. Pa. 2001).

       If Plaintiff establishes a prima facie case, the burden shifts to PNC to offer a legitimate,

non-discriminatory reason for discharging Plaintiff. Huston v. Procter & Gamble Paper Prods.

Corp., 568 F.3d 100, 104 n.2 (3d Cir. 2009). This burden is “relatively light” and satisfied if PNC

provides evidence that, if true, would allow a conclusion that it took the adverse employment

action for a non-discriminatory reason. Burton v. Teleflex Inc., 707 F.3d 417, 426 (3d Cir. 2013).

PNC has no burden of proof, but merely one of production. Shellenberger v. Summit Bancorp,

Inc., 318 F.3d 183, 189 (3d Cir. 2003).

       Once PNC produces a legitimate, non-discriminatory reason for its decision, Plaintiff must

then prove that PNC’s reason is pretext for intentional discrimination. See Jones v. Sch. Dist. of

Philadelphia, 198 F.3d 403, 412 (3d Cir. 1999). Here, Plaintiff cannot meet even his prima facie

burden.

               1.      Plaintiff Cannot Make a Prima Facie Case Because the Circumstances of
                       his Termination Do Not Give Rise to an Inference of Discrimination.

       Plaintiff’s prima facie case fails because there is no evidence that PNC terminated

Plaintiff’s employment under circumstances giving rise to an inference of discrimination. To meet

his burden, Plaintiff must produce “evidence adequate to create an inference that an employment

decision was based on an [illegal] discriminatory criterion….” Pivirotto v. Innovative Sys., 191 F.

3d 344, 355 (3d Cir. 1999) (quoting Teamsters v. United States, 431 U.S. 324, 358 (1977)). To do

so, Plaintiff may present comparator evidence that PNC treated similarly situated non-Russian,


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non-Ukrainian employees better, evidence of similar discrimination towards other Russian,

Ukrainian employees, or direct evidence of discriminatory animus. Golod v. Bank of Am. Corp.,

403 Fed. Appx. 699, 703 n.2 (3d Cir. 2010) (citing Swiekiewicz v. Sorema N.A., 534 U.S. 506,

511-12 (2002)). “An inference of [] discrimination cannot arise simply from an employee’s

subjective belief that his or her [protected class] somehow influenced the challenged employment

action.” Kier v. F. Lackland & Sons, LLC, 72 F. Supp. 3d 597, 609 (E.D. Pa. 2014). Plaintiff

cannot meet his burden.

       First, there is no evidence that PNC treated non-Russian, non-Ukrainian employees who

engaged in referral manipulation better. To the contrary, the record evidence is that PNC fires

employees who engage in the same misconduct as Plaintiff. Indeed, Plaintiff attached as an exhibit

to his Complaint a list of 12 employees whom PNC discharged in the fourth quarter of 2019 for

the same reason as Plaintiff. (ECF No. 2, pp. 24-25.) Although PNC does not maintain data on

its employees’ national origins, the 12 former employees listed are a diverse group, consisting of

white/Caucasian, Black/African American, and Asian individuals.            (SF ¶ 24.) To PNC’s

knowledge, none of the other employees on that list are Russian or Ukrainian. (SF ¶ 24.) Based

on this data, it is clear that PNC treated employees who manipulated sales referrals the same,

regardless of their national origins. Dowdell v. Cmty. Coll. of Phila., No. 15-6806, 2017 U.S. Dist.

LEXIS 88738, at *26 (E.D. Pa. June 9, 2017) (granting summary judgment for the employer where

the plaintiff failed to show that he was treated worse than a similarly situated comparator); Dykes

v. Marco Group, Inc., 222 F. Supp. 3d 418, 427-28 (E.D. Pa. 2016) (finding that the plaintiff failed

to meet his burden where he presented no evidence of a similarly situated individual whom the

employer treated more favorably). Plaintiff’s failure to identify any similarly situated employee

outside of his protected classification who received better treatment is sufficient to grant summary



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judgment in favor of PNC. Despite having no burden of proof, PNC has provided undisputable

evidence that it actually treats similarly situated employees the same. The evidence is fatal to

Plaintiff’s discrimination claim.

       Second, Plaintiff also cannot present any evidence that PNC discriminated against or

treated unfairly other Russian or Ukrainian employees. Plaintiff alleges that he “was the only

person of [his] national origin that worked at that location,” and, therefore, it is impossible for him

to show a pattern of discrimination against Russian or Ukrainian employees. (ECF No. 2., p. 3).

       Third, Plaintiff has no other evidence suggesting discriminatory animus by PNC. Plaintiff

himself reported to DiSandro his act of entering the false referral in PNC’s system. (SF ¶ 13.)

Plaintiff did this in the context of complaining to DiSandro via email that Vaughnson was

attempting to “steal” his customer. (SF ¶¶ 13, 14.) But DiSandro—not Vaughnson—identified

Plaintiff’s improper attempt to secure referral credit. (SF ¶¶ 13, 14.) Thus, DiSandro forwarded

Plaintiff’s email to Schweda. (SF ¶¶ 13, 14.) In turn, Schweda initiated an investigation and

recommended the termination of Plaintiff’s employment for misconduct. (SF ¶¶ 16-18.) Plaintiff

admittedly has no evidence that DiSandro took any actions against him because of his national

origin. (SF ¶ 15.) And Plaintiff does not even claim that Schweda discriminated against him. (SF

¶ 19) Any attempt by Plaintiff to attribute a discriminatory animus to Schweda or DiSandro is

pure, unsupported speculation.

       Plaintiff’s discrimination claim centers on his belief that Vaughnson dislikes him because

he is Russian and Ukrainian. Plaintiff’s argument misses the mark, however, because it is

undisputed that Vaughnson did not trigger the investigation leading to the termination of Plaintiff’s

employment. (SF ¶¶ 13-16.) While Plaintiff asserts that Vaughnson mocked Plaintiff’s accent,

said he was “tired” of Russian customers, and called Plaintiff a “Russian clown,” stray remarks by



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non-decision makers cannot support, on their own, an inference of discriminatory treatment.

Gomez v. Allegheny Health Services, Inc., 71 F.3d 1079, 1085 (3d Cir. 1995); Carilli v. Mut. of

Omaha Ins. Co., 67 F. App’x 133, 135 (3d Cir. 2003).

        Indeed, courts grant summary judgment for employers when, as here, the plaintiff sets forth

no evidence of discriminatory animus by the decision maker. For example, in Cooper v. Thomas

Jefferson Univ. Hosp., 743 Fed. App’x 499, 501-02 (3d Cir. 2018), the plaintiff argued that his

race discrimination claim should have survived summary judgment because he had complained in

the past that a supervisor made decisions based on race. Id. at 503. The Third Circuit rejected this

argument because the supervisor at issue did not make the decision to discharge the plaintiff. Id.

at 503 (holding plaintiff’s allegations “lack[] any whiff of discrimination, and therefore similarly

fail[] to give rise to the required inference.”).

        Here, Plaintiff has no evidence that Schweda or DiSandro made any comments about

Plaintiff’s national origin. Absent any evidence of discriminatory animus by these individuals

who set the wheels of termination in motion, Plaintiff cannot establish an inference of

discrimination, and his prima facie case fails as a matter of law. See, e.g., Dykes, 222 F. Supp. 3d

at 428-429 (granting summary judgment to the employer where comments made by non-decision

makers and the temporal proximity between the plaintiff’s complaints about those comments and

his discharge were not enough to raise an inference of discrimination).

                2.      Plaintiff Cannot Prove that PNC’s Legitimate Explanation Was False or to
                        Mask Discrimination.

        Even if Plaintiff could establish a prima facie case of national origin discrimination, his

claim still fails because Plaintiff cannot prove that PNC’s legitimate, non-discriminatory reason

for discharging Plaintiff—his misconduct—was a pretext for discrimination. To survive summary

judgment, Plaintiff “must point to some evidence, direct or circumstantial, from which a factfinder


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could reasonably (1) disbelieve [PNC’s] articulated legitimate reasons; or (2) believe that an

invidious discriminatory reason was more likely than not a motivating or determinative cause of

[PNC’s] action.” Fuentes v. Perskie, 32 F.3d 759, 764 (3d Cir. 1994) (quoted in Jones v. Temple

Univ., 622 Fed. Appx. 131, 134 (3d Cir. 2015)). In other words, he “must demonstrate such

weakness, implausibilities, inconsistencies, incoherencies, or contradictions in the employer’s

proffered legitimate reasons for its action that a reasonable factfinder could rationally find them

‘unworthy of credence.’” Burton, 707 F.3d at 427.

       Plaintiff has no evidence that PNC’s reason for discharging him is false or that national

origin discrimination is the real reason. Plaintiff admitted that he entered the client referral in the

system, when he had not actually spoken to the client in months. In fact, Plaintiff is the one who

reported his conduct to PNC.

       At most, Plaintiff points to Vaughnson’s alleged comments about Russians, but, as detailed

above, this evidence is irrelevant because Vaughnson did not prompt the investigation into

Plaintiff’s misconduct, and he played no role in investigating Plaintiff’s conduct. Plaintiff sent an

email to DiSandro that evidenced Plaintiff’s misconduct; DiSandro turned the matter over to

Schweda for investigation; Schweda, in turn, investigated; and Schweda then initiated the

termination.   See Staub v. Proctor Hosp., 562 U.S. 411, 421 (2011) (“[I]f the employer’s

investigation results in an adverse action for reasons unrelated to the supervisor’s original biased

action. . . then the employer will not be liable.”). There is no evidence that Vaughnson’s alleged

bias infected the investigation or DiSandro’s or Schweda’s decisions. Jones v. SEPTA, 796 F.3d

323, 331 (3d Cir. 2015) (quoting Staub, supra at 421 (“[i]t is necessary in any case of cat’s- paw

liability that the independent investigation rel[y] on facts provided by the biased supervisor.”)




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Absent such evidence, or evidence of a direct bias by DiSandro or Schweda, the law does not

entitle Plaintiff to a jury trial, and summary judgment should be granted in PNC’s favor.

       B.      Plaintiff’s Retaliation Claim Fails as a Matter of Law Because He Did Not
               Engage in Protected Activity and He Cannot Prove Causation.

       Plaintiff’s claim that PNC discharged him in retaliation for his prior complaints about

Vaughnson fares no better. (ECF No. 2, p. 4, 6). To establish a prima facie case of retaliation,

Plaintiff must prove: (1) he engaged in activity protected by Title VII; (2) PNC took an adverse

employment action against him; and (3) a causal connection exists between the protected activity

and the adverse employment action. Moore v. City of Philadelphia, 461 F.3d 331, 341-42 (3d Cir.

2006). As with his claim of discrimination, a burden-shifting framework applies to the analysis.

Id., at 342. If Plaintiff could establish a prima facie case, then PNC can eviscerate the prima facie

case with evidence of a legitimate, non-retaliatory explanation for the termination. Id., at 342.

Plaintiff would then have to rebut PNC’s explanation with admissible evidence that PNC’s

explanation was false and to mask a retaliatory motive. Id., at 342. Yet again, Plaintiff cannot

meet his burden.

               1.      Plaintiff Did Not Engage in Statutorily Protected Activity.

       Not all complaints are protected under Title VII. To prevail on his retaliation claim,

Plaintiff must have complained about conduct that is unlawful under Title VII. Clark County v.

Breeden, 532 U.S. 268, 271 (2001) (per curiam) (rejecting retaliation claim where “[n]o reasonable

person could have believed that” the underlying incident complained about “violated Title VII’s

standard” for unlawful discrimination). The complaint must be tied to a protected category under

title VII (i.e. race, color, religion, sex, or national origin). Barber v. CSX Distrib. Servs., 68 F.3d

694, 701-702 (ed. Cir. 1995) (“[the plaintiff’s] letter to Human Resources complains about unfair

treatment in general and expresses dissatisfaction with the fact that someone else was awarded the


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position, but it does not specifically complain about age discrimination. Accordingly, the letter

does not constitute the requisite ‘protected activity’ for a prima facie case of retaliation.”) “A

general complaint of unfair treatment is insufficient to establish protected activity under Title VII.”

Curay-Cramer v. Ursuline Acad. of Wilmington, Del., Inc., 450 F.3d 130, 135 (3d Cir. 2006). In

other words, a complaint of unfair treatment not clearly connected to a protected category is not

protected activity. Id.

       For example, in Cameron-Satchell v. CDHA Mgmt. LLC, No. 21-576, 2021 U.S. Dist.

LEXIS 202877 (E.D. Pa. Oct. 21, 2021), the court held that the plaintiff’s various complaints to

Human Resources were not protected activity under Title VII because she never mentioned

conduct that is discriminatory. Id., at *11-16. Rather, the plaintiff raised concerns about “unequal

treatment,” but she did not state what the “unequal treatment” was about. Id. The court, in granting

summary judgment for the defendant found that the plaintiff did not engage in protected activity

because, among other things, she complained about “how [she has] been treated” but did not

attribute the treatment to unlawful Title VII activity. Id. at *49-50. Thus, the plaintiff could not

show that the employer discharged her based on Title VII protected activity. Id. See also Barber

v. CSX Distrib. Servs., 68 F.3d 694, 697-702 (3d Cir. 1995) (affirming summary judgment on the

plaintiff’s retaliation claim, in part, because the plaintiff’s general complaint about an allegedly

unfair hiring decision did not constitute ADEA-protected activity).

       Similarly, here, Plaintiff never complained to PNC about unfair treatment based on his

national origin. Nor did he raise any issues whatsoever related to his national origin, Russia, or

Ukraine. Plaintiff emailed DiSandro and complained to the Employee Relations Information

Center (“ERIC”) about Vaughnson and other employees, but he never complained that




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Vaughnson’s alleged mistreatment was because of his national origin. (SF ¶ 11, 12.). Plaintiff

testified:

        Q:      So, is it fair to say that you never complained to anyone at PNC
                that Vaughn Vaughnson’s treatment of you, or anyone’s treatment
                of you, was because of your national origin being Russian and
                Ukrainian?
        A:      I never specifically complained that I was discriminated because
                I’m Russian, never in those terms that you just said.
        Q:      Or because you’re Ukrainian, correct?
        A:      Yes.

(SF ¶ 11.) Plaintiff further testified:

        So I wasn’t understanding the discrimination thing at all, and it didn’t come up with
        me that I have to say discrimination or my national origin or whatever happened. .
        . . So the first time it came to my mind, basically in terms of termination, when I
        was terminated already, and I started researching what is the law here in
        Pennsylvania and how I could be terminated. And then it was with this position
        with Russian being not required, and I just connected the thoughts.

(SF ¶ 21.) Simply put, Plaintiff did not engage in protected activity. And he could not have done

so because he did not believe that any conduct was potentially unlawful until after his termination.

As such, Plaintiff cannot establish a prima facie case of retaliation.

                2.      No Causal Connection Exists Between Plaintiff’s Complaints to PNC and
                        His Discharge.

        Even if Plaintiff’s complaints about Vaughnson were protected under Title VII, Plaintiff’s

retaliation claim still fails because he cannot prove a causal connection between his complaints

and his discharge. To prove causation, Plaintiff must show that his complaints about Vaughnson

were the “but-for” cause of PNC’s termination decision. Univ. of Tex. Sw. Med. Ctr. v. Nassar,

570 U.S. 338, 362 (2013). This means Plaintiff must prove that his termination “would not have

occurred in the absence of the alleged wrongful action or actions of the employer.” Id. at 360.

Given the record evidence, Plaintiff cannot meet his burden—at the prima facie or pretext stages

of the analysis.


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       For much the same reasons set forth in Section IV.A.2 above, Plaintiff has no evidence that

PNC’s legitimate business reason for terminating his employment was not the real reason. Plaintiff

admitted to submitting the false referral. And there is no evidence that PNC treated any similarly

situated employee better—far from it. The record evidence is that PNC fires employees who

engage in the same misconduct.

       More still, between March and September 2019, Plaintiff lodged at least five complaints

about Vaughnson without suffering any adverse consequences. If Schweda or DiSandro wanted

to discharge Plaintiff for his complaints, protected or not, they could have done so months earlier.

Accordingly, this Court should enter summary judgment in favor of PNC on Plaintiff’s retaliation

claim too.

       C.      Plaintiff’s National Origin Harassment Claim Fails Because the Alleged Conduct
               Was Not Severe or Pervasive.

       To establish a hostile work environment (a/k/a harassment) claim based on his national

origin, Plaintiff must prove: (1) he suffered intentional discrimination because of his national

origin; (2) the discrimination was severe or pervasive; (3) the discrimination detrimentally affected

the plaintiff; (4) the discrimination would detrimentally affect a reasonable person in like

circumstances; and (5) a basis to hold PNC liable. Mandel v. M &G Packaging Corp., 706 F.3d

157, 167 (3d Cir. 2013).      Here, the alleged harasser is Vaughnson—and only Vaughnson.

Plaintiff’s harassment claim fails because Vaughnson’s alleged conduct was neither severe nor

pervasive.

       As set forth above in Section II.D, Plaintiff identified a handful of alleged incidents over

nearly three years of employment with PNC that he claims constituted national origin harassment

by Vaughnson. (See ECF No. 2, pp. 7-8.) Most of those alleged incidents have no logical

connection to Plaintiff’s national origin. They are, indeed, national-origin-neutral. Perhaps that


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is why Plaintiff never (a) mentioned national origin in any complaint he made during his

employment, and (b) surmised only after his termination that national origin was a factor in his

treatment. In an event, the alleged national-origin-neutral conduct cannot ground Plaintiff’s

harassment claim.

       To be fair, Plaintiff has identified two alleged comments by Vaughnson that are national-

origin-based: Vaughnson once called Plaintiff a “Russian clown”; and Vaughnson once said he

was “tired of these Russians”, after speaking with Russian clients. (ECF No. 2, pp. 8-9.)

Vaughnson made no such remarks. Plaintiff also alleges that Vaughnson once mocked his accent.

Vaughnson did no such thing. But accepting these allegations as true, as we must for purposes of

summary judgment, Plaintiff’s harassment claim still fails. That is because these three incidents

are neither severe nor pervasive, as a matter of law.

       To determine whether conduct is severe or pervasive, courts examine the frequency of the

discriminatory conduct, its severity, whether it is physically threatening or humiliating or a mere

offensive utterance, and whether it unreasonably interferes with an employee’s work performance.

Faragher v. City of Boca Raton, 524 U.S. 775, 787-88 (1998). And it is well-established that

“[t]he threshold for pervasiveness and regularity of discriminatory conduct is high.” Greer v.

Mondelez Global, Inc., 590 Fed. Appx. 170, 173 (3d Cir. 2014). “For racist comments, slurs and

jokes to constitute a hostile work environment, there must be more than a few isolated incidents

or racial enmity, meaning that instead of sporadic racist slurs, there must be a steady barrage of

opprobrious racial comments.” Al-Salem v. Bucks County Water & Sewer Auth., No. 97-6843,

1999 U.S. Dist. LEXIS 3609 at *16 (E.D. Pa. Mar. 26, 1999) (quoting Schwapp v. Town of Avon,

118 F.3d 106, 110-11 (2d Cir. 1997)).




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       For example, in Washington v. SEPTA, No. 19-4213, 2021 U.S. Dist. LEXIS 119669 at

*67-70 (E.D. Pa., June 28, 2021), the court granted the employer’s motion for summary judgment

on the plaintiff’s hostile work environment claim, finding that the conduct the plaintiff complained

of was not sufficiently severe or pervasive.       The plaintiff complained that his co-workers

embarrassed him, acted rude, alienated him, yelled in a smug manner, withheld information,

challenged his manhood, called him stupid and told him to “go f*ck himself, and used the “N-

word” several times while talking to others. Id. at *68. The court found that while this conduct

was unprofessional and inappropriate for the workplace, objectively, it was not sufficiently severe.

Id. at *69. Further, the court found that because plaintiff presented 13 incidents over his 17-month

period of employment, the conduct was not pervasive. Id. at 70-71.

       Similarly, here, three isolated statements over a three and a half year period of employment

do not rise to the severe or pervasive threshold. This is especially true given that Plaintiff cannot

demonstrate Vaughnson’s conduct altered the terms or conditions of his employment. Plaintiff

did not receive any performance coaching or counseling related to Vaughnson’s conduct, and he

never even reported the alleged conduct to PNC, belying any suggestion that it affected him in any

way. See, e.g., Greer, 590 F. App’x at 174-175 (finding that plaintiff failed to establish a hostile

work environment where she continued to work for the employer eight months after the most

recent incident and never complained to her supervisors about any incidents of discriminatory

conduct during that time). Instead, Plaintiff remained employed at PNC under the same terms and

conditions until his employment was terminated for violating PNC’s policies and procedures.

Thus, Plaintiff cannot establish a hostile work environment claim, and summary judgment should

enter in favor of PNC.




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V.     CONCLUSION

       For all of these reasons, PNC respectfully requests that this Court grant summary judgment

on the entirety of Plaintiff’s Complaint, and dismiss the Complaint with prejudice.

 Dated: January 11, 2022                          Respectfully submitted,

                                                  PNC BANK, N.A.

                                                  By: /s/ Anthony S. Califano
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                               CERTIFICATE OF SERVICE

         I hereby certify that on January 11, 2022 a true and correct copy of the foregoing

Defendant’s Memorandum of Law in Support of its Motion for Summary Judgment was filed with

the Clerk using the CM/ECF filing system which will send notification of such filing to the

following:

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